Case 4:24-cv-00499-SDJ            Document 58    Filed 08/09/24      Page 1 of 2 PageID #: 1118




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


  STATE OF TEXAS,
                                                         Case No. 4:24-cv-499-SDJ
                    Plaintiff,                                    (Lead Case)


  PLANO CHAMBER OF COMMERCE, et                          Case No. 4:24-cv-468-SDJ
  al.,

                    Plaintiffs,

         v.

  U.S. DEPARTMENT OF LABOR, et al.,

                    Defendants.


                                    MOTION TO WITHDRAW

        Pursuant to Local Rule 11(c), undersigned counsel seeks leave of the Court to withdraw as

 counsel of record for Defendants. Mr. Rosen-Shaud is leaving the Department of Justice on Friday

 August 9, 2024. Defendant will continue to be represented by Christine Coogle. Undersigned

 counsel informed his clients, who consent to this motion.



 August 9, 2024                                      Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     JULIE STRAUS HARRIS
                                                     Assistant Director, Federal Programs Branch

                                                     /s/ Brian Rosen-Shaud
                                                     BRIAN C. ROSEN-SHAUD
                                                     Trial Attorney
                                                     U.S. Department of Justice
                                                     Civil Division, Federal Programs Branch
                                                     1100 L. Street NW


                                                 1
Case 4:24-cv-00499-SDJ         Document 58       Filed 08/09/24     Page 2 of 2 PageID #: 1119




                                                     Washington, D.C. 20005
                                                     (202) 305-7667
                                                     brian.c.rosen-shaud@usdoj.gov
                                                     Counsel for Defendants



                                     Certificate of Conference

         Undersigned counsel contacted counsel for Plaintiffs in the consolidated cases via email
 in the evening of August 8 and again in the morning of August 9, requesting that Plaintiffs advise
 undersigned counsel if they objected to this motion. Neither party reported an objection.

                                                      /s/ Brian Rosen-Shaud
                                                      BRIAN C. ROSEN-SHAUD




                                                 2
